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TRULINCS 54652509 - PARVIZ, MAHSA - Unit: SET-D-A

FROM: 54652509

TO: Bundy, Thomas; Legal, Diaz; Parvis, Shamsi SN Een

SUBJECT: lasnikorders@wawd.uscourts.gov SZ {> .

DATE: 08/08/2023 08:19:11 PM My | Mi —~
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MAHSA PARVIZ MoE se | Ugg ™

P.O. Box 13900 REE coy,

Seattle, WA 98198 ey

mparviz@linkedup.vip Op,

Defendant “rr

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
ANDREW GEORGE WATTERS, Case No. 2:23-ov-00755-RSL
Plaintiff,
NOTICE OF MOTION FOR
v. SANCTIONS UNDER RULE 14
AND/OR 18 U.S.C. SEC. 1927
MAHSA PARVIZ, ' (renewed from Dkt. # 8)
Defendant.

COMES NOW, Defendant Mahsa Parviz, and files this Notice of Motion for Sanctions Under Rule 11 and/or 28 U.S.C. Sec.
1927, (renewed from Dkt. # 8) (hereinafter "Renewed Motion for Sanctions"). The Renewed Motion for Sanctions is renewed
frorn Defendant's “Verified Rule 12 Motion, Answer, Motion for Sanctions Under Rule 11 and/or 28 U.S.C. Sec. 1927, and
Request for Protective Order Under Rule 5.2(e)" (Dkt. # 8).

[. RENEWED MOTION FOR SANCTIONS

Defendant hereby gives additional notice of her motion fer sanctions, which Defendant received notice of via USPS certified
mail RRR. The motion for sanctions has been on file for more than 21 days. The original return receipt will be provided to the
Court if requested.

Defendant serves notice of this renewed motion to Defendant today, August 8, 2023, via USPS certified mall RRR, in
compliance with the mandatory "safe harbor” provision of Rule 11(c)(2). Radcliffe v. Rainbow Constr. Co., 254 F.3d 772, 788-89

(9th Cir. 2001).

ll. COPY FOR FILING WITH THE COURT
Defendant also provides this honorable Court with a true and correct copy of the August 8, 2023 "Motion for Sanctions Under

Rute 11 and/or 28 U.S.C. Sec, 1927 (renewed from Dkt. # 8)”, mailed for filing today via USPS First Class mail, in light of
Plaintiff's claims that Defendant has not provided the Court proof of service. of previous discovery requests.

Of note, it is Plaintiff who has engaged in dilatory tactics in bad faith, such as filing a response in the related California State
domestic violence prevention action and "proof of service by mail" on August 1, 2023, without actually serving a copy on
Defendant's attorney of record via any method whatsoever, despite having communicated with Defendant's attorney via e-mail

previously.

ill. ADDITIONAL SANCTIONABLE CONDUCT

Defendant describes Plaintiff's additional sanctionable conduct at length in the Renewed Motion for Sanctions.

Defendant has failed to withdraw, correct, or otherwise cure the sanctionable conduct within 21 days of notice. Defendant
fully Incorporates the "Verified Rule 12 Motion, Answer, Motion for Sanctions Under Rule 11 and/or 28 U.S.C. Sec. 1927, and
Request for Protective Order Under Rule 5.2(e)” (Dkt. #8) by reference herein.

In addition to his failure to cure the sanctionable conduct, on August 7, 2023, Plaintiff filed “Plaintiffs Opposition to
Defendant's Motion for Protective Order” (Okt. # 19), and therein, twice conceded to filing the instant federal action for the
improper purpose of enjoining a domestic violence prevention action in the state courts of California. Plaintiff, an attorney,
continued to file frivolous pleadings and motions for the improper purpose of enjeining the state court action, in violation of the
Younger Abstention Doctrine and Anti-Suit Injunction Act codified at 28 U.S.C. Sec. 2283, and to harass Defendant.

CERTIFICATE OF SERVICE
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|, Mahsa Parviz, declare under penalty of perjury that the foregoing facts are true and correct and that ‘a copy of this Notice
and the Renewed Motion for Sanctions was served on Plaintiff via USPS certified mait RRR on August 8, 2023.

Executed on the 8th day of August, 2023.
Respectfully submitted,

/sf Mahsa Parviz
MAHSA PARVIZ
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